                                     No. 24-1437

                               IN THE
                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT



CUTBERTO VIRAMONTES, et al.
                                                    Plaintiffs-Appellants,
      v.

COUNTY OF COOK, et al.
                                                    Defendants-Appellees.



                    Appeal from the United States District Court
               for the Northern District of Illinois, Eastern Division
                                  No. 21-cv-4595
                  The Honorable Rebecca R. Pallmeyer, presiding
                                     _________

                   BRIEF OF DEFENDANTS-APPELLEES
                               _________

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                         JURISDICTIONAL STATEMENT
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      The jurisdictional statement of plaintiffs-appellants Cutberto Viramontes,

Christopher Khaya, Second Amendment Foundation, and Firearms Policy Coalition

(collectively, “Viramontes”) is complete and correct.

                               ISSUES PRESENTED
                                    __________

      1.     Whether the County’s ordinance prohibiting ownership of assault

weapons both implicates and contravenes the text of the Second Amendment, where

those weapons are not commonly used for lawful purposes and are dangerous

militaristic weapons incompatible with legal guardrails governing self-defense.

      2.     Whether the County’s ordinance is consistent with this nation’s

historical regulatory traditions, where the undisputed historical record reveals a

longstanding American legal tradition recognizing a moderation principle as it

applies to the doctrine of self-defense as well as a historical tradition of regulating

weapons capable of inflicting rapid mass death.

                           STATEMENT OF THE CASE
                                  ________

I.    Assault Weapons.

      On May 24, 2022, a gunman armed with an assault weapon murdered

nineteen children – none older than 11 years– and two teachers at Robb Elementary

School in Uvalde, Texas. See generally U.S. Department of Justice, CRITICAL

INCIDENT REVIEW: ACTIVE SHOOTER AT ROBB ELEMENTARY SCHOOL (2024).

Afterward, a pediatrician observed that the children “had been pulverized by bullets
                                            1
fired at them, decapitated,” their “flesh had been ripped apart” to such an extent

“that the only clue as to their identities was blood-spattered cartoon clothes still

clinging to them.” R. 81 ¶4. While these children were dying, the law enforcement

officers who swore an oath to protect them waited outside and “focused on calls for

additional SWAT equipment,” paralyzed by the sheer destructive capacity of the

war weapon they faced. CRITICAL INCIDENT REVIEW, supra, at xvii. None of this was

new, nor was it unforeseen – the Uvalde massacre was at least the seventeenth

assault-weapon massacre in the United States since 1984.

       To understand how a single weapon could be utilized to such devastating

effect in the Uvalde massacre, and those which preceded it, one must understand its

origins as a weapon of war. In 1944, Germany’s government began arming its troops

with the Sturmgewehr 44. Chris Bishop, THE ENCYCLOPEDIA OF WEAPONS OF WORLD

WAR II 218 (Sterling 2002). This weapon “was the first of what are today termed

assault rifles. It could fire single shots for selective fire in defence, and yet was

capable of producing automatic fire for shock effect in the attack or for close quarter

combat.” Id. Following the war, in 1957, the United States Army invited Armalite, a

firearms manufacturer, to produce a lightweight, high-velocity rifle that could

operate in both semiautomatic and fully automatic modes with firepower capable of

penetrating a steel helmet or standard body armor at 500 yards. R. 81 ¶298.

Armalite devised the AR-15 to meet these specifications. Id. ¶299. In December

1963, the Army adopted the AR-15, rebranding it the “M-16.” Id. ¶302.




                                            2
      The AR-15 has the same performance characteristics, in terms of muzzle

velocity, range, and ammunition, as the M-16. R. 81 ¶304, 325. The AR-15 also has

the same destructive capacity as weapons developed for use in war-time offensives

by the military. Id. ¶325. Its performance characteristics all contribute to its

uncommon lethality as compared to handguns. Id. ¶¶56-57, 59-70. Military-style

assault rifle rounds travel between two and three times as fast as rounds from a

handgun. Id. ¶60. The physical impact of assault-weapon fire on human tissue is

vastly different than the impact from a handgun and leads to greater fatality and

injury. Id. ¶56-57. Bullets from assault weapons are more likely to fracture bones

due to their higher energy release. Id. ¶73. Assault rifle impacts to extremities

frequently result in amputations, even where a handgun injury would be treatable.

Id. ¶74. Similarly, if a handgun injury requires surgery, typically only one is

needed, but assault weapon injuries frequently require multiple operations and

massive blood transfusions because major blood vessels and multiple organs are

damaged. Id. ¶71. These injuries are even more deadly for children. Id. ¶75. In the

words of one trauma surgeon, “A handgun [wound] is simply stabbing with a bullet.

It goes in like a nail. [But with the AR-15,] it’s as if you shot somebody with a Coke

can.” R. 81-4 ¶¶101-03.

      As this table illustrates, R. 82 ¶7, there is no meaningful difference between

the performance capacity of the M-16 and the AR-15:




                                           3
      These performance characteristics allow assault weapons to deliver more

gruesome injuries and, with them, nearly certain death. A weapon’s killing capacity

is primarily determined by the kinetic energy imparted by the bullet, its effective

range, and the rate at which the weapon fires projectiles. R. 81 ¶59. The

ammunition often used in AR-15s, the 5.56mm/.223 caliber cartridge, was adopted

by the military for use in assault weapons specifically because of its light weight

and ability to deliver reliable lethality. Id. ¶¶298, 270. The lethality of this type of

weapon and ammunition were immediately evident in Vietnam, where an AR-15

left a back wound that “caused the thoracic cavity to explode,” and a “heel wound”

where “the projectile entered the bottom of the right foot causing the leg to split

from the foot to the hip,” both of which resulted in “instantaneous” death. R. 81-4

¶98. In another instance, three shots fired from an AR-15 decapitated the enemy

combatant and severed his right arm. Id. ¶97.

      The extraordinary lethality of assault weapons is a function of the velocity

with which they expel ammunition, the yaw effect experienced by the bullets they

fire, and their range. Assault-weapon rounds have a muzzle velocity of


                                            4
approximately 3200 feet per second, compared to approximately 1200 feet per

second for a 9mm pistol. R. 81 ¶60. The kinetic energy of an AR-15 round is

approximately 1303 foot-pounds, as compared to 400 foot-pounds from a 9mm

round. Id. ¶60. This increased kinetic energy alone increases the likelihood of

serious injury and death, id. ¶¶58-61, particularly in children with smaller body

mass, id. ¶75. In addition, unlike rounds fired from a handgun, assault-weapon

rounds have a tendency to yaw, or rotate on their axis, id. ¶¶66-67, and on impact

send out a radial wave of kinetic energy, id. ¶62. As a result, the temporary injury

cavity created by an assault-weapon round is over three times the size of the

temporary cavity created by a round from the Thompson Machine gun. Id. ¶61.

Finally, the effective range of an assault weapon is up to 500 yards, compared to 50

yards for a typical handgun. Id. ¶60.

      While these characteristics make assault weapons more lethal, they also

make them less useful for ordinary self-defense. Because of their overpowered

performance characteristics, assault weapons may over-penetrate common

household materials, increasing the risk of harm to innocent bystanders. R. 81 ¶23.

Also, self-defense rarely involves lengthy shootouts, id. ¶28, and most

confrontations involving armed self-defense occur at close range, at distances

between 3-7 yards. R. 81-11 ¶25.

II.   Assault Weapon Massacres.

      The record is bereft of evidence that assault weapons are ever used in lawful

self-defense. Conversely, it is common knowledge that assault weapons have become



                                          5
the weapon of choice for criminals and terrorists hoping to massacre innocent

citizens. Since 1984, assault weapons have been used at:


         •   2022 Robb Elementary School, 21 dead, mostly small children;

         •   2022 Highland Park parade, 7 dead;

         •   2022 Buffalo supermarket, 10 dead;

         •   2019 El Paso Wal-Mart, 23 dead;

         •   2019 Dayton Historic District, 9 dead;

         •   2018 Marjory Stoneman Douglas High School, 17 dead;

         •   2018 Pittsburgh Tree of Life Synagogue, 11 dead;

         •   2017 Las Vegas Route 91 Harvest music festival, 58 dead;

         •   2017 Sutherland Springs Church, 26 dead;

         •   2016 Pulse Nightclub, 49 dead;

         •   2014 San Bernadino Regional Building, 14 dead;

         •   2012 Sandy Hook Elementary, 27 dead, mostly small children;

         •   2012 Aurora, Colorado, 12 dead;

         •   2009 Geneva County, Alabama, 10 dead;

         •   1989 Standard Gravure, 8 dead;

         •   1989 Cleveland Elementary School, 5 dead, all small children; and

         •   1984 San Ysidro McDonald’s, 22 dead, including a baby and unborn
             child.




                                         6
And even more recently, an assault weapon was used in the attempted

assassination of former President Trump at a Pennsylvania campaign rally,

resulting in the death of an innocent bystander.

      There are many reasons for assault weapons’ popularity in mass shootings.

Their inherent lethality makes them an alluring choice for mass murder, compared

to less lethal weapons like knives or handguns. In combat, the ability to fire

continuously without reloading translates to combat effectiveness. R. 81 ¶281.

When used against noncombatant civilians, these features translate to mass,

indiscriminate harm. Id. ¶8. More troubling, the mere presence of a firearm tends to

encourage violence; the use of assault weapons in previous massacres increases the

likelihood that aspiring mass shooters will use them as a form of mimicry. Id.

¶¶123-124. This natural psychological effect is only compounded by the fact that

assault-weapons manufacturers market them as cool and intimidating military

weapons. Id. ¶¶189-190.

      Assault weapons also encourage mass shootings by deterring effective,

prompt law enforcement intervention. Effective responses to assault-weapon

shootings require specialized protective equipment, R. 81 ¶¶198-199, 204, 222-223 –

during the Pulse Nightclub massacre officers needed an armed personnel carrier to

breach the wall, id. ¶199. This is because assault weapons discharge ammunition at

a velocity that will pierce standard issue body armor. Id. ¶221. Indeed, 20% of all

active-duty law enforcement officers slain in 2016 and 2017 were killed by assault

weapons, id. ¶204, six of whom were killed when an assault-weapon round



                                          7
penetrated body armor, R. 81-11 ¶18. Even if an officer is wearing body armor

capable of stopping an assault-weapon round, the impact can still cause significant

trauma. R. 81 ¶224. As a result, law enforcement will feel “outgunned” in a mass

shooting situation, id. ¶¶219-220, and thus more likely to delay any intervention in

a mass shooting, R. 81-4 ¶132. Such delays give shooters more time to kill, as

demonstrated by the number of children slaughtered in Uvalde while law

enforcement waited outside. See CRITICAL INCIDENT REVIEW, supra, at xvi.

      The trauma that assault-weapon massacres have inflicted on the public at

large has been staggering. Three out of four young Americans “report mass

shootings being a primary source of stress” and around one in five report that the

possibility of a school shooting causes them daily stress. R. 81 ¶177. In fact, at least

5% to 10% of people in a community who experience but are not the primary victims

of a mass shooting develop Post-Traumatic Stress Disorder. Id. ¶172. Survivors of

mass shootings are at a greater risk of mental health problems, and the people

associated with schools and organizations impacted by mass shootings are

psychologically impacted even if they are not physically injured. R. 81-16 at 14.

Even those not directly victimized are affected – research has shown that active

shooter drills to prepare students for such massacres “are associated with increases

in depression (39 percent), stress and anxiety (42 percent), and physiological health

problems (23 percent) overall, including children from as young as 5 years old.”

CRITICAL INCIDENT REVIEW, supra, at 392.




                                           8
III.   The County’s Ordinance & This Litigation.

       In 1993, in the wake of the Cleveland Park Elementary assault-weapon

massacre, Cook County prohibited the sale, transfer, acquisition, ownership, or

possession of “assault weapons,” specifically listing 60 rifles and pistols designated

by model name or type. Cook County Ordinance No. 93-O-37. In 2006, after the

federal assault weapon ban, the County enacted the Blair Holt Assault Weapon

Ordinance, No. 54-210 – 54-215 (the “Ordinance”). R. 81 ¶130. The Ordinance

makes it illegal to “manufacture, sell, offer or display for sale, give, lend, transfer

ownership of, acquire, carry or possess” assault weapons and large-capacity

magazines in Cook County. Id. ¶131. An “assault weapon” is defined as a semi-

automatic firearm that can accept a detachable magazine and has one or more

military-style features, such as a folding or telescoping stock, a pistol grip without a

stock, a barrel shroud, or a muzzle brake. Id. ¶¶132-136. The Ordinance also lists

specific, but nonexclusive, examples of banned assault weapons. Id. ¶152.

       Decades later, Viramontes filed this suit against Cook County, Cook County

Board President Toni Preckwinkle, State’s Attorney Kimberly Foxx, and Sheriff

Thomas Dart (collectively, “the County”), claiming that he desires assault weapons

banned by the Ordinance and that it thus infringes on his Second Amendment

rights. R. 1. Shortly thereafter, Viramontes moved for judgment on the pleadings in

the County’s favor, R. 20, arguing that Wilson v. Cook County, 937 F.3d 1028 (7th

Cir. 2019), and Friedman v. City of Highland Park, 784 F.3d 406 (7th Cir. 2015),

foreclosed his claims, R. 21 at 1. According to Viramontes, a factual record would



                                            9
“be wholly irrelevant,” id. at 5, as he hoped to ask this court to overrule Wilson and

Friedman, id. at 3-4. The County opposed that motion, asking to proceed with

discovery and develop a record establishing that assault weapons are dangerous

and unusual and therefore fall wholly outside of Second Amendment protection, an

issue not resolved by Wilson or Friedman. R. 24 at 4-5. In response, Viramontes

claimed that only “social science evidence” was necessary, and that such evidence

constituted “legislative facts.” R. 24 at 7. The district court denied Viramontes’

motion. R. 23.

      Shortly thereafter, the Supreme Court decided New York State Rifle & Pistol

Ass’n v. Bruen, 597 U.S. 1 (2022), holding that Second Amendment challenges

proceed in two steps – the first, where the plaintiff must prove that the defendant’s

actions are contrary to the Second Amendment’s text, and if that showing is made, a

second step where the defendant must show its actions are consistent with this

nation’s traditions and history, id. at 19. The district court then extended discovery

regarding this country’s historical traditions, R. 38, 39, and the County disclosed

eleven experts, R. 81 ¶¶36-54. Viramontes disclosed no experts of his own. R. 37,

104 at 11.

      The parties then filed cross-motions for summary judgment. In its motion,

the County explained that assault weapons are not “arms” as the Second

Amendment uses that term because they are both “dangerous and unusual,” given

their regular use in mass shootings and their inherent unsuitability for lawful self-

defense, R. 82 at 10-12, and the lack of evidence that they are commonly used for



                                          10
lawful purposes, id. at 12. Furthermore, the County explained, regulations of

assault weapons are consistent with the longstanding historical tradition of

regulating militaristic weapons, dating all the way back to ancient Athens, and of

regulating weapons capable of causing rapid mass death, as demonstrated by strict

historical regulations on gunpowder, id. at 37-39. The County also moved to strike

Viramontes’ responses to the County’s statements of undisputed material facts,

explaining that his response failed to comply with N.D. Ill. Local Rule 56.1 and

rested on inadmissible evidence. R. 104.

       While the County’s motions were pending, this court held in Bevis v. City of

Naperville, 85 F.4th 1175 (7th Cir. 2023), that a preliminary injunction of the

County’s ordinance, and several materially identical state and local laws, was

inappropriate because (1) the evidence in that case failed to show that assault

weapons are “arms” within the Second Amendment’s meaning; and (2) bans on

assault weapons are consistent with this nation’s history and traditions. Id. at

1192-1203. The County then filed a notice of supplemental authority explaining

that Bevis supported its motion for summary judgment. R. 122. In response,

Viramontes noted Bevis’ statement that “[b]etter data on firing rates might change

the analysis,” 85 F.4th at 1197, but, having offered no evidence on that subject in

his Rule 56.1 statements, identified only the County’s evidence as providing that

“[b]etter data,” R. 123 at 1. Specifically, Viramontes noted the M-16 fires “45-65

rounds per minute in semiautomatic mode and 150-200 rounds per minute in

automatic mode.” Id. at 2 (citing R. 98, ¶¶326-27). By contrast, Viramontes claimed,



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the AR-15 has an “effective rate of fire that is one third the rate of the M-16 in

automatic mode,” but cited no record evidence for this proposition. Id. Viramontes

did not argue that Bevis could be otherwise distinguished.

      The district court granted the County’s motion for summary judgment. App.

3-16. As the court noted, “the parties have expressly agreed that, if they are still

good law, Friedman and Wilson control the case,” App. 13, and “Bevis made a point

of stressing Friedman’s continuing vitality,” App. 14 (cleaned up). The court also

noted that Viramontes failed to distinguish Bevis by offering any evidence

“meaningfully” differentiating the “firing-rate differentials between M16s and AR-

15s.” Id. The court observed, “it is not at all clear that the papers, surveys, and

other online sources to which Plaintiffs cite are even admissible in this case,”

because they were not properly disclosed in discovery. Id. But even considering that

evidence, nothing in Bevis indicated that Viramontes’ argument regarding effective

firing rates would have changed the analysis. App. 15. In fact, “the evidence in this

case appears to have been broadly similar to that addressed in Bevis,” App. 16 n.5,

and “the Seventh Circuit had this [effective-firing-rate] evidence before it in some

form when deciding Bevis,” as indicated by Judge Brennan’s discussion of it in his

dissent, App.16. Accordingly, the Ordinance survived Second Amendment scrutiny.

Id.

      This appeal followed.




                                           12
                            SUMMARY OF ARGUMENT
                                  __________

      Viramontes’ arguments suggesting Bevis serves as a legal precedent upon

which this court could find the Ordinance to be unconstitutional are the stunning

equivalent of legal misinformation based upon alternative facts. Viramontes asserts

that Bevis supports finding that the Ordinance is unconstitutional. But Bevis

involved a consolidated appeal of the Ordinance (among other regulations) in which

the constitutionality of the Ordinance was upheld. Bevis, 85 F.4th at 1182. There

exists no logical analytical framework pursuant to which Viramontes may ask this

court to rely upon Bevis to overturn the very Ordinance upheld by Bevis –

particularly absent new evidence suggesting a different result may be warranted.

But rather than offer a factual means to distinguish this record from Bevis,

Viramontes’ arguments pretend that the Bevis court did not review the Ordinance

at all – and that if it had – it would have certainly reached a contrary result. It is

difficult to know where to begin when combatting arguments based upon such a

faulty premise, but the County suggests this court: i) look to the precedent

supporting the validity of the Ordinance; ii) take note of the mountain of waiver

under which many of Viramontes’ new arguments should be buried; and iii) review

the traditional legal principles underpinning the Second Amendment and which

support upholding the constitutionality of the Ordinance.

      Viramontes invites this court to revisit an issue thrice resolved: whether the

Ordinance passes constitutional muster. Friedman, Wilson, and Bevis each upheld

the Ordinance (or in the case of Friedman, its legal twin). Critically, this court in

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Bevis reaffirmed Wilson and Friedman as consistent with the Second Amendment

standards subsequently announced by Bruen. Bevis, 85 F.4th at 1189-91. Adding

further support to the County’s position in this litigation resolved several times

over, the Supreme Court’s subsequent decision in United States v. Rahimi, 144 S.

Ct. 1889 (2024) supports a conclusion that assault weapons fall outside the text of

the Second Amendment because they are not commonly used for lawful purposes.

      Rahimi further instructs this court that it need not find a direct analogous

regulation to the Ordinance, but rather determine whether the regulation is

consistent with the understanding of the contours of the right as it was at the time

of our Nation’s founding. Rahimi, 144 S. Ct. at 1897-98. Armament was always

understood to serve as a right at which the core was self-defense. A right which has

been understood in historical American jurisprudence as a moderate and

proportional ability to protect oneself from threats of imminent harm. There is

simply no historical support for Viramontes’ claim that offensive militaristic

weapons are compatible with the legal moderation principles applied to self-defense

at the time of the founding up to and through the present. For this additional

reason, assault weapons fall outside the Second Amendment’s text.

      Finally, historical analogous regulations support a tradition of regulatory

principles in which the government may ban or significantly restrict ownership of

dangerous weapons capable of inflicting rapid or mass death.




                                          14
                                    ARGUMENT
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        Viramontes’ claims are foreclosed by this court’s decisions in Friedman v.

City of Highland Park, 784 F.3d 406 (7th Cir. 2015), cert. denied, 577 U.S. 1039

(2015), Wilson v. Cook County, 937 F.3d 1028 (7th Cir. 2019) (per curiam), cert.

denied, 141 S. Ct. 110 (2020), and Bevis v. City of Naperville, 85 F.4th 1175 (7th Cir.

2023); Harrel v. Raoul, 144 S. Ct. 2491 (2024) (cert denied).

   I.      Friedman and Wilson Foreclose Viramontes’ Second Amendment
           Claim.

        In Friedman, this court held that an assault-weapon ban identical to the

Ordinance did not violate the Second Amendment. 784 F. 3d 406. This court

subsequently held in Wilson that the Ordinance is constitutional, applying

Friedman. 937 F.3d 1028. That is significant here, as the district court observed,

because Viramontes agreed below that, “if they are still good law, Friedman and

Wilson control the case.” App. 13. And they are still good law – Bevis specifically

“address[ed] Friedman’s continuing vitality,” 85 F.4th at 1184, explaining that it

was “basically compatible with Bruen” because it “anticipated the need to rest the

analysis on history, not a free-form balancing test,” id. at 1189, and rejecting the

dissent’s arguments to the contrary as relying on “pure dicta,” id. at 1191.

        Notably, Viramontes does not claim that either Friedman or Wilson was

wrongly decided on the merits, and does not ask that either be overruled, thus

forfeiting any argument to that effect. See United States v. Foster, 652 F.3d 776, 793

(7th Cir. 2011) (noting that rules of forfeiture apply with particular force to requests


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to overrule precedent). Rather, he claims that Friedman and Wilson are no longer

controlling because Bevis “did not hold that [they] remain the law.” Viramontes Br.

14; accord id. at 37. This gets things exactly backwards – decisions of this court

“remain the law of the circuit” until there has been “recognition of the decision to be

undone and circulation to the full court under Circuit Rule 40(e).” Brooks v. Walls,

279 F.3d 518, 523 (7th Cir. 2002). A decision need not even be mentioned, let alone

expressly confirmed, in later precedent to retain its vitality; indeed, failure to

mention prior contrary precedent only undermines the subsequent decision to the

extent it conflicts with existing precedent. See id. (explaining that panel’s failure to

“mention” previous contrary decisions meant they “remain the law of the circuit”).

Bevis neither purported to overrule Friedman or Wilson, nor was it circulated to the

full court under Rule 40(e), so both decisions remain the law of this circuit,

foreclosing Viramontes’ claim here.

      Viramontes’ remaining arguments regarding Friedman and Wilson are easily

dismissed. While Viramontes insists that Bevis would not have analyzed Bruen at

all, merely to “rehas[h]” Friedman, Viramontes Br. 37-38, this is nonsense. After all,

Bevis could not have confirmed Friedman and Wilson’s ongoing vitality under Bruen

without analyzing Bruen. Viramontes also deems it significant that Bevis relied on

Friedman only for what he considers an “unnecessary discussion of history,” id. at

39, constituting “nonbinding dicta,” id. at 62. This is not how precedent works. The

historical discussion in Bevis was an alternative ground for decision applying

Bruen’s second, historical step, and an alternative ground for decision cannot “be



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relegated to the category of obiter dictum.” Woods v. Interstate Realty Co., 337 U.S.

535, 537 (1949). Practically speaking, the fact that Bevis relied on Friedman at all

only confirms that it had no intent to set Friedman aside.

   II.      Various Procedural Defects Impair Viramontes’ Arguments
            Concerning Bevis.

         Even setting Friedman and Wilson aside, the Ordinance survives Second

Amendment scrutiny under Bevis. Viramontes asserts two equally suspect and

procedurally defective categories of arguments as to why Bevis purportedly supports

his claim. These arguments are premised upon a misunderstanding of the scope of

Bevis and failure to appreciate the fatal blow to his claim struck by the waivers of

his own hand.

         In Bevis, this court addressed a Second Amendment challenge to the

Ordinance and held that a preliminary injunction was inappropriate because the

plaintiffs in that case failed to show a likelihood of success at either step of the

Bruen analysis.

         Despite Bevis’ repeated caution that its analysis of the facts was purely

preliminary and could be revisited if further development of evidence so warranted,

Viramontes declined this invitation. From the very outset, he opposed conducting

discovery on his own claims. And when the County moved for summary judgment,

he offered only a handful of facts in his Local Rule 56.1 statements. None of which

involved the merits of his Second Amendment claims, and most of which concerned

associational standing – and only a cursory argument why Bevis should not

foreclose his Second Amendment claim altogether. All this was done in service of a


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singular goal, made apparent from the very outset when Viramontes took the

extraordinary step of moving for an adverse judgment on his own complaint: get the

proceedings in the district court and this court over with as quickly as possible so he

can file a petition for certiorari with the Supreme Court. Like the proverbial dog

that caught the car, Viramontes should have been more careful of what he wished

for, because his haste interred his constitutional claims under a mountain of

forfeiture.

          A. Bevis Resolved the Challenge to the Ordinance under Bruen.

       First, Viramontes curiously claims that Bevis is distinguishable, because

Bevis did not involve the Ordinance at issue here. E.g., Viramontes Br. 3 (claiming

that “Bevis purported to apply Heller and Bruen to an Illinois law similar to Cook

County’s); id. at 9 (Bevis only “affirm[ed] two district court decisions that had

declined to preliminarily enjoin the statewide ban”); id. at 41 (Bevis only

“conclu[ded] that the firearms banned by [the Illinois statute]” were not “arms”);

accord R. 123 at 1 (same). This argument is as frivolous as it is misleading, as Bevis

specifically affirmed the denial of a preliminary injunction of the Ordinance in a

consolidated appeal. 85 F.4th at 1182 (noting that case involved challenges to “Cook

County Ordinances No. 54-210 to 54-215”).

       As the Supreme Court explained in Bruen, and later clarified in Rahimi, the

Second Amendment analysis proceeds in two steps. First, plaintiff must show that

the regulated conduct falls within the plain language of the constitutional text.

Bruen, 597 U.S. at 24. Second, if the plaintiff makes that showing, the burden then


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shifts to the government to demonstrate that its regulation is “consistent with the

principles that underpin our regulatory tradition.” Rahimi, 144 S. Ct. at 1898. In

upholding the denial of a preliminary injunction against the Ordinance in a

consolidated appeal also involving challenges to materially identical assault

weapons regulations enacted by Illinois, the City of Chicago and the City of

Naperville, Bevis explained that the plaintiffs in that case had not shown a

likelihood of success on the merits at either step.

          B. Viramontes’ Appeal is Replete With Waiver and Forfeiture.

      For reasons that are entirely unclear – and despite repeated invitations to do

so – Viramontes declined to share his “legislative facts” during the course of

discovery. Nor did he include these purportedly outcome determinative facts and

arguments during briefing on dispositive motions. Instead, Viramontes raises

various arguments framed to distinguish the facts of this case from Bevis which

were never asserted in the lower court and should thus be deemed forfeited. See

Belom v. Nat’l Futures Assoc., 284 F.3d 795, 799 (7th Cir. 2002) (“[A]rguments not

raised in the district court are waived on appeal.”).

      As Viramontes admits, a significant amount of the evidence on which he rests

his arguments was not presented to the district court, or was presented only in his

response to the County’s statement of material facts. Viramontes Br. 44 n.2. This

dilatory tactic adds three forfeitures to the mix.

      First, it is well settled that this court will not consider on appeal from a grant

of summary judgment any opposing evidence that was not offered below, Grant v.



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Trustees of Indiana Univ., 870 F.3d 562, 569 (7th Cir. 2017), because summary

judgment is the moment for parties to come forward with all legal and factual

support for their position, Packer v. Trustees of Ind. Univ. Sch. of Med., 800 F.3d

843, 849 (7th Cir. 2015).

      Second, it is equally well settled that a “failure to follow the local rules

circumscribes [this court’s] review of the facts” on summary judgment, Flint v. City

of Belvidere, 791 F.3d 764, 766 (7th Cir. 2015); accord id. at 767 (considering

“only the facts (and inferences drawn from them) presented in accordance with

Local Rule 56.1”). That is significant because the local rules of the Northern District

of Illinois are clear that a response to a statement of material facts “may not set

forth any new facts” and “may not assert legal arguments except to make an

objection,” N.D. Ill. Local R. 56.1(e), which is precisely what Viramontes attempted

to do here. For example, in response to evidence regarding a first-responder’s

personal observations of the horrific injuries inflicted on two children murdered at

Uvalde, Viramontes “decline[d] to dispute” that evidence, R. 98 at 2 – a response he

later conceded meant to admit the fact offered, R. 111 at 9-10 – only to then offer a

page of nonresponsive argument he claimed would somehow put those injuries in

“context,” R. 98 at 2-3.

       Third, while Viramontes summarily declares that his failure to disclose

evidence below is not problematic because “all” of that evidence is supposedly

evidence of “legislative facts,” Viramontes Br. 44 n.2, such cursory, undeveloped




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arguments are forfeited on appeal, e.g., United States v. White, 879 F.2d 1509, 1513

(7th Cir. 1989).

      Assuming arguendo that any or all of Viramontes’ evidence can be considered

evidence of a legislative fact, that still would not help him escape the consequences

of his forfeitures here. Whether evidence involves legislative facts is relevant only to

the application of the federal rules of evidence, which exempt such facts from the

rules governing judicial notice. Fed. R. Evid. 201. But Rule 201’s commentary

makes clear that the presentation of those facts is still subject to the ordinary rules

of party presentation “affording opportunity to hear and be heard and exchang[e]

briefs.” Id., Notes of Advisory Committee.

      Reflecting this principle, Local Rule 56.1 contains no exception for legislative

facts, but makes clear that it governs all evidence a party hopes to offer in support

or opposition to a motion for summary judgment. Indeed, the problems of judicial

administrability that require presentation of adjudicative facts in a Local Rule 56.1

statement are even more acute when legislative facts are involved – while the

judicial search for improperly identified adjudicative facts can at least be confined

to the record materials before the district court, the search for legislative facts is

bounded by only the limits of human knowledge itself.

      Due to his pervasive forfeitures, 1 Viramontes has preserved only the lone

argument he raised in the district court below, that Bevis can be distinguished on


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 For avoidance of doubt, the forfeited arguments are also meritless. For example,
Viramontes’ claim that muzzle shrouds serve only “ergonomic functions” by
ventilating the gun barrel and preventing the shooter from being burned,


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the basis of evidence regarding firing rates. R. 123 at 1-2; Viramontes Br. 57-58. But

that argument fails for the simple reason that the evidence on which Viramontes

relies was the exact same evidence that Cook County put forward in Bevis. Compare

R. 81-5 at 30, with Herrera v. Raoul, No. 23-cv-00532, Doc. 60-5 at 30 (N.D. Ill.

March 7, 2023). Indeed, as the district court noted below, App. 16, that evidence

was discussed by Judge Brennan in his Bevis dissent, 85 F.4th at 1223. Obviously,

Viramontes cannot distinguish Bevis by regurgitating evidence already considered

in that case. Having eschewed the opportunity to build a record in the district court

in the manner required by local rule, Viramontes cannot deny that Bevis controls on

this record.

III.   There Is No Compelling Reason To Overrule Bevis.
       Unable to distinguish Bevis, Viramontes is left only to ask that it be

overruled. Viramontes Br. 18-36. But this court requires a compelling reason to

overrule its precedent, Wilson, 937 F.3d at 1035, because “[m]ere disagreement with

the law or a desire to see the law change is not enough,” United States v. Carpenter,

104 F.4th 655, 658 (7th Cir. 2024). Viramontes offers no compelling reason to

overrule Bevis, focusing instead on rehashing arguments already made and rejected

in Bevis. 2 Even setting that problem aside, Viramontes’ request to overrule Bevis

faces an insurmountable obstacle in the Supreme Court’s recent decision in Rahimi,


Viramontes Br. 45-46, simply blinks reality. A muzzle shroud is necessitated only
by the extreme heat created by rapid fire, which explains why ordinary handguns
not capable of such rapid fire are not equipped with similar “ergonomic” features.
2 Viramontes also relies on the Ninth Circuit’s decision in Teter v. Lopez, 76 F.4th

938 (9th Cir. 2023), but that decision has been vacated for en banc reconsideration,
93 F.4th 1150 (9th Cir. 2024), and thus serves as no authority here.
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which only reinforces that this court correctly applied both steps of the Bruen

analysis.

      A. Viramontes’ Rehashing Of Arguments Raised And Rejected In
         Bevis Cannot Provide Compelling Reason To Overrule Bevis.
      Viramontes simply rehashes all the arguments already presented by the

parties in Bevis. For example, Viramontes argues that common ownership of assault

weapons is sufficient to show that they are commonly used for lawful purposes,

Viramontes Br. 19-20, 52-53, but that exact argument was made by the Bevis

plaintiffs. Viramontes also claims assault weapons bans contradict District of

Columbia v. Heller, 554 U.S. 570 (2008) and Bruen, Viramontes Br. at 18-34, and

that the historical examples offered by the County and its codefendants were not

sufficiently analogous, id. at 29-32, but those argument, too, were obviously central

in Bevis. The same of Viramontes’ argument that only “dangerous and unusual”

weapons may be prohibited, id. at 1, 25-27, which was also raised by the plaintiffs

in Bevis. Merely rehashing arguments already considered when rendering a

decision only shows disagreement with that decision; it does not show compelling

reason to overrule that case.

      B. Rahimi Reinforces Bevis’ Conclusion That Assault Weapons
         Regulations Are Constitutional.

      Viramontes’ failure to offer a compelling reason to overrule Bevis likely

reflects his recognition that the Supreme Court’s recent decision in Rahimi,

clarifying the Bruen standards, only reinforced Bevis’ conclusion that the County’s

assault weapons ban survives at both steps of the Bruen analysis. Indeed,

Viramontes effectively concedes as much by largely ignoring Rahimi, forfeiting any

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contrary argument. Foster, 652 F.3d at 793. Despite that forfeiture, we address each

step, in turn.

             1. Assault Weapons Are Not “Arms” Within The Second
                Amendment’s Text Because They Are “Unusual.”

      Under Bruen, the plaintiff bears the burden of demonstrating that his

challenge falls within that Amendment’s plain text. 597 U.S. at 24. For present

purposes, the determinative question is whether the assault weapons prohibited by

the County’s Ordinance constitute “arms.” Heller instructed “arms” “extends, prima

facie, to all instruments that constitute bearable arms, even those that were not in

existence at the time of the founding.” 554 U.S. at 582. As indicated by the Court’s

inclusion of the term “prima facie” – a term used when a legal standard is only

presumptively satisfied, absent more evidence, e.g., BLACK’S LAW DICTIONARY 1228

(8th ed. 2008) – the fact that a weapon is literally a bearable arm does not

conclusively establish that it is legally an arm for purposes of the Second

Amendment.

      To the contrary, Heller recognized, and Bevis specifically adopted, the

historical tradition of prohibiting “dangerous and unusual weapons” and that

“weapons that are most useful in military service—M-16 rifles and the like” may be

banned. Heller at 627, Bruen, 597 U.S. at 21; Bevis, 85 F.4th at 1195, 1197. It was

well settled by the time of Blackstone that possession of “dangerous or unusual

weapons” could be strictly regulated. 4 William Blackstone, COMMENTARIES ON THE

LAWS OF ENGLAND, 148-49 (Oxford 2016). And as made clear by Bruen’s discussion

of common-use in its analysis of the Second Amendment’s text, a court considering


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whether a weapon is presumptively protected by the Second Amendment’s text

must consider whether that weapon is “‘in common use’ today for self-defense.” 597

U.S. at 32; accord Vermont Fed. of Sportsmen’s Clubs v. Birmingham, No. 2:23-cv-

710, 2024 U.S. Dist. LEXIS 126857, at *14 (D. Vt. July 2, 2024) (noting that Bruen

“discussed the ‘common use’ issue as part of its consideration of whether handguns

were presumptively protected by the Second Amendment”).

      Because the parties in Bruen did not dispute that the ordinary handguns at

issue in that case were commonly used for self-defense, 597 U.S. at 32, Bruen

refrained from addressing what constitutes “common use.” But both Bruen and the

Court’s subsequent decision in Rahimi specifically endorsed as representative of

American legal traditions an early decision of the North Carolina Supreme Court in

State v. Huntly, 25 N.C. 418 (1843) (per curiam). Rahimi, 144 S. Ct. at 1901; Bruen

at 51 (describing Huntly as “more telling” of early American law of affray than other

sources).

      Significantly, Huntly directly addressed the legal standards governing

common use. After quoting Blackstone’s statement that the Statute of Northampton

codifying the English law of affray applied to “dangerous or unusual weapons,”

Huntly noted that the ancient definition of affray reached only “armor or weapons

not usually worn.” 25 N.C. at 420-21. As a result, the court rejected the notion that

the particular firearm at issue in that case, “or any other gun, cannot in this

country come under the description of ‘unusual weapons’” merely because “there is

scarcely a man in the community who does not own and occasionally use a gun of



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some sort.” Huntly, 25 N.C. at 422. This, the court explained, is because the

question was not whether the weapon was unusual to own, but whether it was

unusual “wherewith to be armed and clad.” Id. (emphasis added). As a result, the

gun at issue in that case was “unusual” because “[n]o man amongst us carries it

about with him, as one of his every day accoutrements--as a part of his dress.” Id.

      Huntly did not stand alone in its understanding of what constituted an

“unusual” weapon for purposes of the law of affray. Multiple eminent legal scholars

recognized that the question whether a weapon could be considered unusual for

purposes of the law of affray was governed by its public use. E.g., Joseph Keble, AN

ASSISTANCE TO THE JUSTICES OF THE PEACE, FOR THE EASIER PERFORMANCE OF

THEIR DUTY 147 (2d ed. 1689) (“[I]f a man shall shew himself furnished with

Armour or Weapon which is not usually worn, it will strike a fear upon others that

be not armed”); accord William Lambarde, EIRENARCHA 134 (1579). It is also in

accord with how Blackstone – and thus the framers for whom he was their primary

source on English law, Alden v. Maine, 527 U.S. 706, 715 (1999) – would have

understood that term. Blackstone was an award-winning student of Latin, David A.

Lockmiller, SIR WILLIAM BLACKSTONE 8 (U.N.C. Press 1938), which features

prominently throughout his writings. As a result, he would have known that “usual”

is a direct lineal descendent of the Latin term usus, which meant “make use of,

profit by, take advantage of.” Reflecting that lineage, the original definition of

“usual” was “accordant with usage.” Merriam-Webster, Usual, https://www.merriam-

webster.com/dictionary/ usual (last visited August 28, 2024) (emphasis added).



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      This understanding finds further support in the Supreme Court’s firearms

precedent. Interpreting federal law prohibiting the “use” of a firearm during a drug

trafficking offense, the Court unanimously agreed that use “must connote more

than mere possession of a firearm,” Bailey v. United States, 516 U.S. 137, 143

(1995), noting that all of the ordinary definitions of use “imply action and

implementation,” id. at 145. But use does not reach mere “intended use, as when

[one] places a firearm with the intent to use it later if necessary,” id. at 146, and the

Court specifically rejected the notion that use encompassed “placement of a firearm

to provide a sense of security or to embolden,” or “mere possession” of a weapon to

“embolden or comfort” its owner, id. at 149. While Bailey did not purport to

interpret the Second Amendment, the fact that the Court itself recognized that the

ordinary meaning of the term “use” implies action, not passive possession, in the

context of a firearm is strong indication that Heller did not employ the term “use” in

accordance with an uncommon meaning it had already unanimously rejected.

      Focus on the commonness of actual open, public use of a firearm, rather than

on mere ownership, best respects the common-use principle’s origins in the law of

affray. As noted in Rahimi, the purpose of criminalizing affray was to prevent

activity that would naturally bring terror to the general populace and, by so doing,

increase the chance that said terror would escalate into actual violence. 144 S. Ct.

at 1901 (quoting Huntly, 25 N. C. at 421-22). But the mere fact that something is

commonly owned, standing alone, says next to nothing about whether the general

populace would naturally respond with terror to seeing that same item borne in



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public. For example, it is beyond dispute that chainsaws can be used “in wrath to

cast at or strike another,” Viramontes Br. 35, and are commonly owned by millions

of Americans. But members of the general public would still naturally respond with

terror at the sight of an individual openly wielding a chainsaw while strolling down

Michigan Avenue in Chicago, because such public use is exceedingly uncommon. By

contrast, the common public uses to which a particular weapon is put directly

informs whether terror at the sight of that weapon is a natural, inherent reaction of

the populace, as well as whether it is fair to presume that the act of carrying that

arm conveys with it the evil intent necessary to show an affray.

      An illustrative example of this principle is the Thompson machine gun: no

matter how commonly that weapon might have been owned, the common public use

of that arm was to commit heinous, high-profile crimes like the 1929 St. Valentine’s

Day Massacre. Given that common use, the sight of such a firearm being wielded in

public would naturally evoke feelings of terror in the general populace. Thus, the

Supreme Court had no trouble determining in Heller that such weapons “may be

banned.” 554 U.S. at 627.

      Similarly, grenades are not commonly used in public for any lawful purposes,

and the Court has repeatedly concluded that their mere possession is not an

“innocent act.” Staples v. United States, 511 U.S. 600, 610 (1994) (quoting United

States v. Freed, 401 U.S. 601, 609 (1971)); accord Bevis, 85 F.4th at 1195. The Court

reached the same conclusion for short-barrel shotguns, United States v. Miller, 307

U.S. 174, 182 (1939), most commonly used by criminals. And so too with the Bowie



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knife – though it has lawful uses, as a machete or hunting knife, those uses took

place largely in isolated frontier or rural areas; the known public uses of the Bowie

knife were overwhelmingly criminal. Ocean State Tactical, LLC v. Rhode Island, 95

F.4th 38, 46 (1st Cir. 2024) (noting Bowie knife’s “popularity in the hands of

murderers”).

      Today, assault weapons have become indelibly linked to mass shootings in

the popular consciousness the weapon of choice for mass shooters. R. 81 ¶¶187-89,

193-94. As with Tommy guns or Bowie knives in the past, possession of an assault

weapon in public causes fear and constitutes an affray because the American public

knows all too well the grim purposes for which they are commonly employed. The

psychological impact of mass shootings, overwhelmingly perpetrated with assault

weapons, cannot be understated: 80% of American adults report feeling stressed

about mass shootings, and 75% of U.S. youth report mass shootings being a primary

source of stress. Id. ¶¶175-76; see also CRITICAL INCIDENT REVIEW, supra, at 392

(noting psychological effects on students participating in active shooter drills). This

fear becomes trauma when a shooting actually occurs. In some studies, as many as

95% of mass shooting survivors, whether or not they sustain injuries, develop

PTSD. R. 81 ¶171. The stress seeps into the community, where 5 to 10% of

community members who were not primary victims develop PTSD as well. Id. ¶172.

Even would-be mass shooters themselves are not immune to the terror wrought by

assault weapons, as they are influenced by social proof, or the tendency to mimic

those who came before them. Id. ¶¶122-24. The Parkland shooter, for example,



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knew full well that his victims, and the country, would “know who [he was]” with

the “power of the A.R. [sic].” Id. ¶194. Americans cannot escape the knowledge that

assault weapons are commonly used to perpetrate the deadliest mass shootings.

      The common-use principle forecloses Viramontes’ claim at step one of the

Bruen analysis. Viramontes identifies literally no evidence that any of the assault

weapons regulated by the County are commonly, publicly used for a lawful purpose,

and does not seriously dispute that such weapons are commonly – indeed,

repeatedly – used for the unlawful purpose of massacring innocent civilians. Nor can

Viramontes dispute that assault weapons are used for politically motivated

violence, since an assault weapon was only just recently used to attempt to

assassinate former President Trump at a campaign event, injuring him and two

others, and killing a volunteer firefighter.

      Rather, Viramontes claims that the horrific uses to which assault weapons

are commonly put are legally irrelevant, insisting that the inquiry focuses on

whether a particular weapon is commonly owned. Viramontes Br. 19-20, 52-53. But

as already explained, the law firmly rejected that notion long ago, Huntly, 25 N.C.

at 422, as fundamentally incompatible with the law of affray from which Heller

originally derived the common-use principle. It is beyond any reasonable doubt that

the repeated use of assault weapons to gun down innocent men, women, and

children in their schools, in their places of worship, while shopping for groceries,

while supporting a presidential candidate, and even while celebrating this nation’s

independence, would naturally feel terror at the public sight of such a weapon.



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      Viramontes’ remaining arguments to the contrary are easily disposed of.

While Viramontes insists that a weapon must be both “dangerous and unusual”

before it can be banned, Viramontes Br. 25 (quoting Heller, 554 U.S. at 627), this

reads a Supreme Court decision like a statute, which is never appropriate, United

States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en banc). Illustrating that very

problem, Viramontes’ reading puts Heller in conflict not just with Blackstone, but

with the very passage of Blackstone it cited. See Heller, 554 at 627 (citing 4

Blackstone, supra, at 148-49). But Heller nowhere expressed any intention to

suddenly depart from Blackstone’s understanding of English law, making it

apparent Heller was using the disjunctive form of “and” – akin to saying “I like to

eat apples and bananas” – entirely consistent with Blackstone’s stated

understanding of English law.

      To the extent that Viramontes relies upon assault weapons sales and

ownership statistics, Viramontes Br. 49-50, 52-54, the historical traditions endorsed

in Rahimi long ago rejected the notion that ownership equates to use. Viramontes

also relies heavily on surveys of gun owners, id. at 50-52, but he forfeited any

consideration of those surveys by failing to properly present them to the district

court below.

      The reason he failed to present those surveys below is obvious. First, they are

double-hearsay and thus inadmissible on summary judgment. Flanagan v. Office of

Chief Judge, 893 F.3d 372, 375 (7th Cir. 2018); Jackson v. City of Peoria, 825 F.3d

328, 330 (7th Cir. 2016). Second, they do not even show common use. To the extent



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that those surveys state why individuals own assault rifles, Viramontes Br. 50-51,

aspiring to use a gun for a particular purpose is not the same as actually using it for

that purpose, Bailey, 516 U.S. at 146.

      That leaves only Professor English’s vague claim that “gun owners engage in

1.67 million defensive gun uses a year,” Viramontes Br. 50-51, but this claim rested

on since-discredited methods designed to inflate his numbers, Deborah Azrael, et

al., A Critique of Findings on Gun Ownership, Use, & Imagined Use from the 2021

National Firearms Survey: Response to William English at 17-21. 3 In fact, Professor

English even went so far as to exclude “hundreds of negative responses from gun

owners” – just as one would expect given that his research was financed by the gun

industry. Mike McIntire, et al., The Gun Lobby’s Hidden Hand in the 2nd

Amendment Battle, NEW YORK TIMES (June 18, 2024). 4 Even generously treating

Professor English as an expert – despite Viramontes’ conspicuous failure to offer

him as such – these egregious failings motivated by clear financial biases make any

supposed expert opinion he sought to provide inadmissible as a matter of law.

      Finally, Viramontes argues that assault weapons are “rarely” used for

“violent crime,” Viramontes Br. 59, but this argument rests on yet more evidence

not properly offered below, and is thus forfeited. It also treats common use as a

massacre quota which, aside from being grotesque, fundamentally misunderstands




3 Available at https://ssrn.com/abstract=4894282


4 Available at https://www.nytimes.com/2024/06/18/us/gun-laws-georgetown-

professor.html
                                          32
the analysis. Again, that analysis was derived from the English law of affray,

Heller, 554 U.S. at 627 (citing 4 Blackstone, supra, at 148-49), which asks whether

sight of a weapon in public would naturally cause terror in the populace, Rahimi,

144 S. Ct. at 1901. As this court recognized in Friedman, the salience of even

relatively infrequent events like mass shootings plays a crucial role in the public’s

fear of such events. 784 F.3d at 412. Thus, it is simply irrelevant that assault

weapons are not more commonly used to inflict mass slaughter, since the slaughters

they have been used to inflict are enough to naturally instill terror in the public. By

contrast, the lack of salience of murders with ordinary handguns, though much

more common, explains why they do not instill such terror and are not properly

banned as uncommonly used for lawful purposes.

             2. Assault Weapons Are Not “Arms” Within The Scope Of The
                Second Amendment Because They Are “Dangerous.”

      Even had Viramontes established that assault weapons are commonly used

for a lawful purpose, they are still not protected “arms.” English law prohibited

“dangerous or unusual weapons,” 4 Blackstone, supra, at 149 (emphasis added);

accord, e.g., English v. State, 35 Tex. 473, 476 (1872) (“Blackstone says, the offense

of riding or going round with dangerous or unusual weapons, is a crime against the

public peace, by terrifying the good people of the land.”), so assault weapons also fall

outside the Second Amendment’s prima facie definition of “arms” if they are

“dangerous.” While the Supreme Court has recognized that the Second Amendment

“extends only to certain types of weapons,” based on “the character of the weapon,”

Heller at 622, and that there is a historical tradition of prohibiting the carrying of

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“dangerous” weapons under which militaristic “weapons that are most useful in

military service--M-16 rifles and the like--may be banned,” Heller, 554 U.S. at 627,

its precedent “leaves open” the question how to determine whether a weapon is

“dangerous,” Harrel v. Raoul, 144 S. Ct. 2491, 2492 (2024) (Thomas, J., statement).

      The Framers understood “dangerous” weapons to encompass “militaristic”

weapons – weapons fundamentally incompatible with longstanding principles of

moderate, proportionate self-defense. Indeed, the en banc Fourth Circuit just

recently recognized that the Second Amendment “emphatically does not stretch to

encompass excessively dangerous weapons ill-suited and disproportionate to”

ordinary self-defense. Bianchi v. Brown, No. 21-1255, 2024 U.S. App. LEXIS 19624,

at *30 (4th Cir. Aug. 6, 2024) (en banc); accord id. at *27 (“What brings all the

weapons beyond the scope of the Second Amendment together, and what separates

them from the handgun, is their ability to inflict damage on a scale or in a manner

disproportionate to the end of personal protection.”).

      Historically, such militaristic weapons were treated differently from ordinary

weapons. Ancient Roman law, for example, made loss of a soldier’s arms an offense

punishable by death, CORPUS JURIS CIVILIS, Dig. 49.16.3, but it was understood that

this law applied not to ordinary weapons like “clubs” or “stones,” despite their

utility in war, but rather only to “those Weapons which are used for the sake of

hurting another,” John Ayliffe, A NEW PANDECT OF ROMAN LAW 195 (1734).

Reflecting this distinction, ancient Roman law made it unlawful for an individual to

“collect[ ] arms or weapons at his home or on his farm or at his country house,” but



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only if they were not “customary for hunting or a journey by land or sea.” CORPUS

JURIS CIVILIS, Dig. 48.6.1, and further prohibited the possession of missile weapons

in public, id. Dig. 48.6.3.1. Similarly, the laws of ancient Athens provided that

“every Athenian was finable who walked about the city in armour.” 4 Blackstone,

supra, at 149.

      This special treatment of military weapons was adopted by English law as

well. The ancient Athenian prohibition on “armour” was reflected in the Statute of

Northampton, which codified the “offence of riding or going armed, with dangerous

or unusual weapons, [a]s a crime against the public peace, by terrifying the good

people of the land,” and made it punishable by “pain of forfeiture of the arms, and

imprisonment.” 4 Blackstone, supra, at 148-49. That is significant because English

law of Blackstone’s time did not use the term “armour” in its modern sense – i.e., to

refer to a literal suit of armor. To the contrary, “in English statutes, armor is used

for the whole apparatus of war.” Noah Webster, AN AMERICAN DICTIONARY OF THE

ENGLISH LANGUAGE (1828) (“Armor”).

      Subsequent English statutes provided that “no Man shall ride in Harness

within the Realm . . . neither with Launcegay,” because doing so was “contrary to

the Form of the Statute of Northampton thereupon made.” Statute Made at

Westminster in the Seventh Year 1383; accord Statute of the Twentieth Year 1396-

97. Both “harness” and “launcegays” were intrinsically military in nature – the

former was literally “the furniture of a military man, or offensive, as a casque,

cuirass, helmet, girdle, sword, buckler, etc.,” Webster, supra (“H’arness”), the latter



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a “light lance” that was “carried in place of the war lance in the fourteenth century,”

George Cameron Stone, A GLOSSARY OF THE CONSTRUCTION, DECORATION, & USE OF

ARMS & ARMOR IN ALL COUNTRIES & IN ALL TIMES 410 (1934). These prohibitions

remained English law for centuries, until well after the ratification of the Second

Amendment. See Repeal of Obsolete Statutes Act 1856, act 19 & 20 Vict. c. 64.

      While this evidence confirms this court’s conclusion in Bevis that there is a

long tradition of prohibiting ownership of “militaristic” weapons on the basis of

dangerousness, 85 F.4th at 1199, that still leaves open the question Bevis left

unresolved – how to distinguish such weapons from ordinary weapons of self-

defense.

      To answer that question, one must examine the right of self-defense

recognized at English common law, since Heller repeatedly emphasized that “self-

defense” is “the central component of the right” to keep and bear arms codified by

the Second Amendment. 554 U.S. at 599; accord id. at 628 (“the inherent right of

self-defense has been central to the Second Amendment right”); see generally

McDonald v. City of Chicago, 561 U.S. 742 (2010) (repeatedly emphasizing

centrality of “self-defense” to Second Amendment right); accord Joyce Lee Malcolm,

TO KEEP & BEAR AMS 162 (Cambridge 1994) (explaining that first goal of Second

Amendment was “to guarantee the individual’s right to have arms for self-defence”).

      This reflects that the English Declaration of Rights of 1689, which “has long

been understood to be the predecessor to our Second Amendment,” Heller at 593,

only guaranteed individuals “Arms for their Defence . . . as allowed by Law,” 1 W. &



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M., ch. 2, § 7 (emphasis added). That italicized language did not, however, make the

right subject to legislative enactment via statutory law – a caveat that would have

effectively swallowed the right – but rather made it coterminous with the

underlying natural, common-law right of self-defense it protected. See Stephen

Halbrook, To Bear Arms for Self-Defense, 21 FEDERALIST SOC’Y REV. 46, 50 (2020)

(explaining that Declaration “referred to the common law, not to any statute that

might be passed that would negate the right”).

      Or as Blackstone put it, this language made clear that the right to bear arms

was “a public allowance, under due restrictions, of the natural right of resistance

and self-preservation.” 1 Blackstone, supra, at 139; accord Rex v. Dewhurst (King’s

Bench 1820), in 1 John MacDonnell, REPORTS OF STATE TRIALS, NEW SERIES 601-02

(London 1888) (Bayley, J.) (Blackstone meant that the Declaration granted

individual the “right to protect himself in his house” and “when he is going singly or

in a small party upon the road where he is traveling”).

      Turning to that right, English common law divided self-defense into two

broad categories: (1) “justified” self-defense, when “the defendant prevented a

felony”; and (2) “excused” self-defense, when “the defendant was in the midst of a

fight.” V.F. Nourse, Self-Defense & Subjectivity, 68 U. CHI. L. REV. 1235, 1244

(2001). The former has no bearing here, since it focused solely on the actions of the

slain – namely, whether the felony being prevented was punishable by death. Id.

But excusable homicide focused on the actions of the killer and – reflecting the

reality of the time that “death could result from even a superficial wound” – was by



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the thirteenth century “defined as slaying out of literally vital necessity . . . as a last

resort.” Thomas A. Green, The Jury & The English Law Of Homicide, 1200-1600, 74

MICH. L. REV. 413, 420 (1976); accord William Hawkins, A TREATISE OF THE PLEAS

OF THE CROWN 87 (8th ed. London 1824) (self-defense requires “inevitable

necessity,” where defender “has no other possible means of preserving his life”).

       Crucially, excused self-defense also took into consideration the nature of the

weapon used by the defender. As Blackstone explains, while self-defense “is justly

called the primary law of nature,” the fact remains that “care must be taken, that

the resistance does not exceed the bounds of mere defence and prevention; for then

the defender would himself become an aggressor.” 3 Blackstone, supra, at 4. Thus,

the acts that constitute excusable homicide end at “the bounds of moderation, either

in the manner, the instrument, or the quantity,” so an act otherwise permissible by

the law becomes “manslaughter at least, and in some cases (according to the

circumstances) murder” if a person uses a weapon or implement unsuited for an

otherwise-lawful task. 4 id. at 182–83 (emphasis added). 5

       In fact, Chief Justice Holt explained as early as 1705 that the moderation

principle was a central component of English self-defense, holding that self-defense

is inapplicable to “excessive” force because the law only protected the use of weapons

that are actually “necessary for a man’s defense.” Cockcroft v. Smith, 11 Mod. 43




5 Notably, the identity of the particular weapon used by the defendant was also a

common-law component of the crime of manslaughter – use of “a hammer, or such
like instrument” was not manslaughter, while “discharging a pistol” was, because
the latter is a “dangerous weapon.” Hawkins, supra, at 90.
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(King’s Bench 1705). The law of self-defense did not give a man the right “in case of

a small assault, [to] give a violent or unsuitable return.” Id. This was because

“hitting a man with a little stick on the shoulder, is not reason for him to draw a

sword and cut and hew the other.” Id.

       This understanding of the limits of self-defense carried over into American

criminal law. The literal first reported American decision regarding self-defense

rejected that defense specifically because it was not “necessary for the prisoner to

avail himself of the instrument” — there, a club — “which occasioned the death. On

his own confession, much less would have been sufficient,” making his actions

“clearly manslaughter.” State v. Wells, 1 N.J.L. 486, 493 (N.J. 1790). In other words,

“[t]he court expressly linked its determination of unnecessary, disproportionate

force to the specific arm chosen by the defendant.” Eric Ruben, An Unstable Core:

Self-Defense & the Second Amendment, 108 CALIF. L. REV. 63, 89 (2020). In doing so,

Wells relied on a decades-old English case, Reg. v. Nailor, FOSTER CROWN CASES 278

(Old Bailey 1704), which rejected a plea of self-defense – despite the fact that the

defendant was pinned on the ground such that “he could not escape nor avoid the

blows” of his attacker – because his use of a penknife to wound and ultimately kill

an unarmed attacker was not necessary given the threat he faced. Wells, 1 N.J.L. at

492.

       The decision in Nailor would feature prominently in the seminal work of

Nathan Dane, the “Father of American Jurisprudence,” and author of the “first

great compend of American law.” Henry A. Chaney, Nathan Dane, THE GREEN BAG,



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Vol. III 548 (1891). As Dane explains, the early task faced by American judges and

lawyers following the Revolutionary War was to examine the “political” and “moral”

principles of the English legal system that had just been cast off, in order to “select[

] from the English laws, in force in a monarchy, once feudal, those parts of them

adopted here, and remaining in force in our republic.” 1 Nathan Dane, A GENERAL

ABRIDGMENT & DIGEST OF AMERICAN LAW iii (Boston 1823). And one of the

principles of English law that remained consistent with the values of this new

republic was the principle of moderate self-defense. The law of self-defense required

proof that the defendant had “killed his adversary through mere necessity, in order

to avoid immediate death.” 7 id. at 230. Further, Dane notes the significance placed

on the specific weapon being used, explaining that the claim of self-defense in

Nailor failed because the defendant “used a dangerous weapon, and hence

presumed[ly] he meant to kill.” Id. (emphasis added).

      This was significant because the law requires that “I must increase my force

no more or faster than the case or [the attacker’s] force requires,” and thus prohibits

the use of a “deadly weapon” against one who “barely commits a trespass.” Id. For

example, pulling up a “hedge stake” and killing another for damaging a fence is

“murder,” because it is “an act of violence much beyond the proportion of the

provocation,” when the use of a different “instrument not likely to kill” in the same

circumstances would only be “manslaughter.” Id.

      As all this history demonstrates, a particular weapon is “dangerous,” and

thus not a prima facie “arm” for purposes of the Second Amendment’s text, if it is



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fundamentally incompatible with the common-law right to moderate, proportional

self-defense protected by the Second Amendment. Such weapons, being unsuitable

for moderate self-defense, are militaristic weapons “most useful in military service”

and thus “may be banned,” just like the M16 machine gun, Heller, 554 U.S. at 627,

and implements of war like grenade launchers, tanks, and nuclear arms that are

also clearly unsuitable for proportionate self-defense. Even before Heller, it was well

settled that a particular weapon’s suitability for self-defense was a central

consideration when determining whether that weapon may be banned. See, e.g.,

Benjamin v. Bailey, 662 A.2d 1226, 1232 (Conn. 1995); People v. Brown, 235 N.W.

245, 247 (Mich. 1931); People v. Persce, 97 N.E. 877, 879, (N.Y. 1912); State v. Duke,

42 Tex. 455, 458-459 (Tex. 1874); State v. Reid, 1 Ala. 612, 622 (1840). In fact,

legislatures specifically made it unlawful to use certain “dangerous and bloody

weapons” even in self-defense, by enacting laws stating that a “particular

instrument is prohibited in the exercise of that right.” E.g., Day v. State, 37 Tenn.

496, 501 (1858).

      The example of these principles in application most familiar to lawyers is the

longstanding prohibition on spring guns. Such guns were “especially in vogue” in

England in the latter half of the eighteenth century. Miller Christy, Man Traps &

Spring-Guns, OUTING, vol. XLI, issue 6, at 729 (1903); accord Ed Tangen, Spring

Guns, 1 AM. J. POLICE SCI. 307, 307 (1930) (spring guns “were much used in

England against poachers and trespassers”). Despite the popularity of spring guns

at a time when “[t]he Englishman’s right to be armed was in its heyday,” Malcolm,



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supra, at 165, Parliament in 1827 banned the use of spring guns, with a limited

exception for home defense between sunset and sunrise, Spring Gun Act 1827, 7 & 8

Geo. 4, ch. 18 (recodified as Offenses Against the Person Act 1861, 24 & 25 Vict., ch.

100, § 31). American law followed suit – to this day, states criminalize spring guns,

e.g., 720 ILCS 5/24-1(a)(5); Mich. Comp. Laws § 750.236, and the rule against their

use is so well-settled at common law that law students study the famed spring gun

case, Katko v. Briney, 183 N.W.2d 657 (Iowa 1971).

      The bans on spring guns are particularly informative because they were not

based on spring guns’ unusual lethality or other destructive potential – after all,

spring guns were largely similar to ordinary handguns and rifles, only modified to

fire remotely. See Christy, supra, at 730-31 (providing images of spring guns).

Rather, they were based on spring guns’ fundamental incompatibility with

moderate self-defense, in two critical respects. First, spring guns risked injury to

innocents: a child “in pursuit of a straying peacock,” a maid killed in her employer’s

house, a gardener killed in his employer’s garden. Christy, supra, at 729-30. The

problem was that spring guns – while effective criminal deterrents – “did not

possess the power to discriminate between a depredator and the owner of the

property they were intended to protect” and “maimed or killed him just as promptly

and impartially as [they] would have killed a trespasser and a thief.” Id. at 730. The

debates over the 1827 spring-gun ban confirmed that Parliament was deeply

concerned with injury to innocents, with one member comparing the use of a spring

gun to firing a military weapon – “a cannon” – in the middle of a street to rid it of



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criminals. House of Commons Debates, March 23, 1827, vol. 17, cc19-34 (comments

of William Smith). That concern remains a driving force behind the rule against

spring guns that persists in American law. See Katko, 183 N.W.2d at 661 (noting

instances in which innocent policeman and small boy were killed by spring guns);

see also Calvillo-Silva v. Home Grocery, 19 Cal. 4th 714, 733 (1998) (noting spring

guns inflict “indiscriminate violence”).

      Second, spring guns were incompatible with the common-law principle that

an individual cannot “us[e] more force than is absolutely necessary” in his defense,

due to “the sacred regard which our law every where exhibits for the life and safety

of man—its tardiness and reluctance to proceed to extreme violence.” Rev. Sydney

Smith, Man Traps & Spring Guns, THE EDINBURGH REVIEW, Vol. 35, Issue 70, at

417 (1821); accord id. at 414 (“You cannot shoot a man that comes on your land,

because you may turn him off by means less hurtful of him . . .”); id. at 412-13 (also

noting limits of English law). This fear was echoed by Parliament when banning

spring guns, with one proponent noting the “anxious caution the law surrounds the

life of man, even where the person slain has been the original aggressor; how

minutely it exacts, that the object of attack shall not have exceeded the limits of a

just and necessary defence.” House of Commons Debates, supra (comments of Sir

Edmund Carrington). This concern, too, underlies American laws against spring

guns, which are outlawed specifically because their use is inconsistent with lawful

self-defense. See Katko, 183 N.W.2d at 660.




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      Applying that principle to the undisputed evidence in this record, it is

immediately clear that assault weapons are, by their very nature, fundamentally

incompatible with moderate, proportionate self-defense. Such weapons are very

powerful and effective at a long range, and are more likely to travel easily through

walls, vehicles, body armor, and the human body, regardless of whether the shooter

intends to do so. R.81-10 at ¶¶13–14; R. 81-5 at 30-32; R. 81-14 ¶14; R. 81-4 at ¶123,

132. They are capable of producing astonishing harm to the human body:

decapitation, R. 81 ¶4; R. 81-4 ¶97, exploded limbs and organs, id. ¶98, lethal

wounds the size of soda cans, id. ¶¶101-03. Their use in response to an attack

reflects a maximization of force to ensure that the attacker is not merely driven off,

but slain. Further, given the effective range of assault weapons when compared to

the population density of Cook County, there are few, if any, places where one could

safely discharge them without knowingly or unknowingly endangering the bodily

safety of a third party. At common law, the use of such extraordinary force

“equivalent to a deliberate act of slaughter” would not have constituted lawful self-

defense, 4 Blackstone, supra, at 199-200, so the possession of the weapon designed

solely to exert such force would not have been protected either.

      Reduced to a fine point, firing a weapon that has the capacity to pierce body

armor at 500 yards, R. 81-4 ¶¶96, 132, equipped with a large-capacity magazine or

not, within densely populated Cook County, is excessive force, and not self-defense,

and thus a crime. See, e.g., People v. Murillo, 587 N.E. 2d 1199, 1204 (1st Dist.

1992) (finding that self-defense was no longer a defense and became excessive force



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when shooting a person multiple times, including while the person no longer posed

a threat). This is particularly true when there is an easily available alternative: a

handgun, with one-tenth of the range of an assault weapon, R. 81-15 at 3. Such

conduct that endangers a third party also gives rise to a separate criminal charge

under Illinois law. See, e.g., 720 ILCS 5/24-1.5. Similarly, a person can be charged

with aggravated discharge of a firearm when he or she “[d]ischarges a firearm in

the direction of another person or in the direction of a vehicle he or she knows or

reasonably should know to be occupied by a person.” 720 ILCS 5/24-1.2.

       The excessiveness of the force exerted by assault weapons is only

compounded by their recognized capacity for inflicting indiscriminate harm on

innocents. See Bianchi, 2024 U.S. App. LEXIS 19624, at *49 (“its all too frequent

use in terrorism, mass killing, and police murder shows that the AR-15 offers

firepower ill-suited and disproportionate to fulfilling the Second Amendment's

purpose of armed self-defense”). And because the exercise of lawful self-defense is

the central purpose for which the Second Amendment was adopted, assault

weapons’ incompatibility with lawful self-defense renders them dangerous,

militaristic weapons that fall outside the protections of that Amendment’s plain

text. See id.

       Viramontes has virtually nothing to say about the dangerousness inquiry.

Instead, Viramontes simply declares that a weapon “is not more dangerous merely

because it can fire faster.” Viramontes Br. 16. Such undeveloped, ipse dixit

declarations, offered without any supporting legal authority, are forfeited on appeal,



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White, 879 F.2d at 1513. Viramontes never addresses the County’s argument that

assault weapons are “dangerous” because of their incompatibility with moderate

self-defense. Rather, he claims that assault weapons are “useful” for self-defense in

the abstract, Viramontes Br. 43, but makes no argument as to how they are useful

beyond their capacity for killing. As history makes clear, the lethality of a weapon

has never made its use lawful, but actually served to disqualify it for use in self-

defense at common law, thus disqualifying that weapon for Second Amendment

protections hinging on that common-law right.

             3. The County’s Assault Weapons Ban Is Consistent With The
                Legal Principles Underpinning This Nation’s Traditions.

      Even assuming that assault weapons are “arms” within the text of the Second

Amendment, the Ordinance survives Bruen’s second step because it is consistent

with this nation’s “long-standing tradition of regulating . . . especially dangerous

weapons.” Bevis, 85 F.4th at 1199. As Rahimi explains, the question under Bruen’s

second step is not whether the government can identify historical laws identical to

the modern law at issue, but rather “whether the challenged regulation is

consistent with the principles that underpin our regulatory tradition.” 144 S. Ct. at

1898; Id. at 1904 (Sotomayor, J., concurring). principles need not be derived from

laws specifically targeting firearms, but rather from any laws with applicability to

firearms – for example, the surety laws considered analogous in Rahimi “could be

invoked to prevent all forms of violence, including spousal abuse” involving no

weapons at all, but “also targeted the misuse of firearms.” Id. at 1900.




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      With the benefit of Rahimi’s clarifications regarding the proper mode of

analysis under Bruen’s second step, it is clear that Bevis was correct to recognize

that assault weapons regulations are consistent with the principles underlying this

nation’s regulatory traditions. If anything, Rahimi teaches that Bevis significantly

understated the amount of support found in the historical record. Not only are bans

on assault weapons supported by the legal principles underlying bans on weapons

like spring guns and Bowie knives, but they also find support in the principles

underlying the strict historical regulations on implements of mass death such as

gunpowder.

      Starting with the former, the history of regulation of weapons incompatible

with moderate self-defense easily aligns with the County’s regulation of assault

weapons in both “why” and “how” they affect individuals’ ability to use certain

weapons in self-defense. As to “why,” we explain above that it has long been

accepted that the government may regulate the possession of certain weapons when

they have proven themselves incompatible with the common law right to moderate

self-defense. That same concern about assault weapons’ fundamental

incompatibility with the moderate right to self-defense, due to their capacity to

inflict extraordinary, lethal harm on the human body, is what motivated the

County’s regulation here. And as to “how,” those historical laws limited individuals’

ability to use certain dangerous weapons for self-defense by banning their

possession – and even their use for self-defense – just as the County’s ordinance

does here.



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      While the historical tradition of restricting possession of weapons

incompatible with moderate self-defense should alone suffice to uphold the County’s

law, that tradition is only reinforced by the additional historical tradition of

restricting access to weapons capable of inflicting rapid mass casualties, as

demonstrated by historical regulations of gunpowder. Unlike cannons or similar

weapons of mass destruction that existed at the time of the founding, gunpowder

could be acquired and stored by average citizens, who could theoretically stockpile

large amounts of gunpowder in their homes or places of business. Thus, gunpowder

gave an average citizen the ability to kill many people quickly, as assault weapons

do today.

      And that lethal potential was often realized – in London alone, a gunpowder

explosion at Tower Hill in 1552 killed seven, an explosion at Crooked Lane in 1560

killed eleven, another at Fetter Lane in 1583 killed three, another at Tower Street

in 1650 killed 67 and destroyed fifteen houses, and in 1715 over a hundred houses

on Thames Street were destroyed in a fire caused by a gunpowder explosion that

leveled a house. R. 81 ¶245. 6 Following the famed Gunpowder Plot of 1605, in which

Guy Fawkes and his coconspirators amassed 36 barrels of gunpowder to level the

House of Lords, see generally, Alan Haynes, THE GUNPOWDER PLOT (History Press

1994), the Founders would have been well-aware of the destructive potential of

excessive quantities of gunpowder.




6 The problem was not limited to London – more than twenty major gunpowder

explosions rocked European cities and towns between 1400 and 1850. Id.
                                           48
      Reflecting this danger, states and localities have extensively regulated

gunpowder since pre-colonial England and the earliest days of the American

Republic. R. 81 ¶247-248. In England, the explosion at Crooked Lane led to an

outright ban on gunpowder storage in houses, though that ban was later modified to

allow storage of two pounds of powder. Id. In addition, the English law of nuisance

also placed severe limits on individuals’ ability to store gunpowder in their homes.

By the 1700s, it was settled in the English courts that the storage of large amounts

of gunpowder in one’s home constituted an indictable offense against the crown,

even if the activity was longstanding, and even “though gunpowder be a necessary

thing, and for defence of the kingdom.” Anonymous, 12 Mod. 342 (King’s Bench);

accord, e.g., Rex v. Taylor, 2 Str. 1167 (King’s Bench). Notably, these restrictions

were not limited to individuals with a history of unsafe practices or violations of the

law – rather, they applied to all citizens equally, law-abiders and lawbreakers alike,

without regard to the fact that the defendant’s activities had never injured others,

see Anonymous, supra.

      This regulatory tradition carried over to the United States, where the use of

gunpowder quickly proliferated due to its “obvious importance for public defense,

frontier security, and hunting,” and the “demand for a host of developmental

projects in a labor-scarce economy, including mining, canal building, and road

building.” William J. Novak, THE PEOPLE’S WELFARE 63 (2000). Despite the

extraordinary popularity and usefulness of gunpowder, it was “particularly

susceptible” to the law of nuisance, id., and the courts recognized that “the keeping



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of gunpowder . . . in large quantities in the vicinity of one’s dwellinghouse or place

of business, is a nuisance per se, and may be abated as such by action at law, or by

injunction,” H.G. Wood, A PRACTICAL TREATISE ON THE LAW OF NUISANCES 142 §

142 (1875). Early American cities were incorporated with the express authority to

regulate gunpowder, e.g., An Act to Incorporate the City of Key West, ch. 58, § 8,

1838 Fla. Laws 70, and multiple states limited the amount of gunpowder a person

could possess, Saul Cornell & Nathaniel DeDino, A Well Regulated Right, 73

FORDHAM L. REV. 487, 510–12 (2004) (describing numerous gunpowder storage

laws). Such regulations persist to this day, despite the advent of cartridges making

it generally unnecessary for the average person to possess freestanding gunpowder.

E.g., 720 ILCS 5/47-5(7) (forbidding powder magazines near incorporated towns in

Illinois).

       The “why” behind the regulations was self-apparent – as the courts have

explained, a “deposit of a large quantity of gunpowder in the midst of a populous

city” could lead to an explosion, “and such would be the terrible and wide-spread

destruction from it that the whole population would live in dread of some horrible

catastrophe.” Cheatham v. Shearon, 31 Tenn. 213, 216 (1851). This fear supported

legislation because “the dangers would be real, and all men of reflection and

prudence would feel them to be so, and therefore their apprehensions would be well

founded.” Id. at 216–17. And, notably, regulations on gunpowder storage were not

limited to individuals with a history of unsafe practices regarding the storage of

gunpowder – rather, they applied to all citizens equally, law-abiders and



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lawbreakers alike. What’s more, regulations often limited the quantity of

gunpowder, reflecting the common wisdom that there is a line between a safe

measure of powder for private use, and a stockpile of materiel that could cause mass

casualties in an instant, before the government had a chance to react.

      The “why” behind regulations on assault weapons is virtually identical. Like

stockpiles of gunpowder, they give a single individual the extraordinary ability to

kill great numbers of people quickly. And as with gunpowder in the 1500s through

the 1700s, that fatal potential has been repeatedly realized, as mass shootings

perpetrated with assault weapons now occur with troubling regularity in this

nation’s schools and public places. And just like the gunpowder used in the famed

Gunpowder Plot, assault rifles have been utilized in an attempted act of political

violence, in the recent assassination attempt on former President Trump. Nick

Penzenstadler, Gun Used in Trump Shooting: New Details about Rifle Emerge, USA

TODAY (July 16, 2024)

https://www.usatoday.com/story/news/investigations/2024/07/16/trump-shooting-

assassination-gun-details/74425138007/. As a result, just as was once the case with

gunpowder, the innocent, law-abiding people of Illinois now live in dread of the next

act of domestic terror to be committed using assault weapons. And those fears are

even more well-founded than the fear that justified strict historical regulation of

gunpowder – where gunpowder was strictly regulated in London after its misuse

caused only two local explosions that resulted in a grand total of 18 deaths, the




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misuse of assault weapons has resulted in multiple mass shootings and an

incomprehensible number of American lives lost.

      Beyond the fact that gun powder and assault weapons could be used

purposefully for violence, they share the quality of a lurking “nuisance” because

their mere presence carries the potential for mass death, regardless of the owner’s

intent. The Sandy Hook massacre, for example, was carried out by an individual

who gained access to his law-abiding mother’s assault weapon and who likely would

not have found other means to commit his crime. This potential for extreme violence

is exacerbated by the weapons psychological effect on their users, by increasing

aggressive thoughts and aggression. R. 81 ¶122-123.

      Gunpowder regulations and bans on assault weapons are also relevantly

similar in “how” they affect law-abiding citizens’ right to armed self-defense.

Certainly, laws imposing restrictions on the storage of gunpowder imposed some

burden on the ability of an individual to engage in armed self-defense, because they

“would at the very least have made it difficult to reload the gun to fire a second shot

unless the homeowner happened to be in the [location] where the extra gunpowder

was required to be kept.” Heller, 554 U.S. at 686 (Breyer, J. dissenting). But as the

Heller majority recognized, this burden was minimal, particularly in comparison to

“an absolute ban on handguns.” Id. at 632.

      Bans on assault weapons and large-capacity magazines impose a comparably

minimal burden on armed self-defense — like the historic English regulations of

gunpowder, which allowed a small amount of gunpowder with significantly lesser



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destructive power to be stored in homes, they allow individuals seeking to engage in

armed self-defense to retain possession of a host of weapons that are extremely

well-suited for that purpose. The regulations of gunpowder only prohibited

possession of amounts of gunpowder with no practical utility for self-defense – no

individual defending himself from a home invader could possibly use

thirty pounds of gunpowder in his defense without simply detonating it and risking

great harm to innocent bystanders. Similarly, the regulations at issue here only

prohibit the possession of weapons with no discernible additional self-defense utility

beyond what is already provided by other, less destructive weapons. Indeed,

Viramontes is conspicuously unable to identify even a single actual use of assault

weapons in lawful self-defense, which is strong indication that inability to obtain

assault weapons has a negligible or even nonexistent effect on individual’s ability to

engage in lawful self-defense. See Ocean State, 95 F.4th at 45. And this comes as no

surprise, given that assault weapons are, by their extraordinarily destructive

nature, incompatible with lawful, moderate self-defense.

      Given the undisputed historical tradition of strictly regulating public access

to weapons fundamentally incompatible with lawful self-defense, particularly when

that incompatibility arises from that weapon’s ability to indiscriminately inflict

rapid mass casualties on innocent bystanders, it seems beyond any doubt that the

County’s regulation of assault weapons here does not offend the Second

Amendment, and is thus constitutional.




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      Viramontes’ cursory argument to the contrary is unavailing. Viramontes

declares “that only ‘dangerous and unusual’ arms can be banned,” Viramontes Br.

36 (emphasis added), but he is conspicuously unable to identify even a single

statement in Heller or Bruen identifying this as the only historical tradition that

might be considered at Bruen’s second step. And, again, Viramontes largely ignores

Rahimi, which conclusively disposes of the notion that the historical traditions

identified in Heller and Bruen are exclusive. That said, it is beyond dispute that

assault weapons are both dangerous and unusual as those terms were historically

understood. Viramontes’ argument gets him nowhere.

                                   CONCLUSION
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      This court should affirm the judgment of the district court.

                                        Respectfully submitted,

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      CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(a)(7)
                      ________________________

       In accordance with Fed. R. App. P. 32(g), I certify that this brief
complies with the type-volume limitation set forth in Fed. R. App. P. 32(a)(7)(B)(i)
because it contains 13,984 words, beginning with the words “Jurisdictional
Statement” on page 1 and ending with the words “Respectfully submitted” on page
54. In preparing this certificate, I relied on the word count of the word-processing
system used to prepare the brief, which was Microsoft Word.

                                                s/ Jessica M. Scheller
                                                 Jessica M. Scheller, Attorney


                           CERTIFICATE OF SERVICE
                               _________________

       I certify that on August 28, 2024, I electronically filed the attached Brief of
Defendants-Appellees with the Clerk of the Court for the United States Court of
Appeals for the Seventh Circuit by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.

                                                s/ Jessica M. Scheller
                                                Jessica M. Scheller, Attorney




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